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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHO
                                     EASTERN DIVISION


UNITED STATES OF AMERICA,                         )        Case No. 1:14CR225-002
                                                  )
                Plaintiff,                        )        Judge Benita Y. Pearson
                                                  )
        vs.                                       )        REPORT AND RECOMMENDATION
                                                  )        OF MAGISTRATE JUDGE
THE KELLY PLATING COMPANY,                        )
                                                  )
                Defendant.                        )        Magistrate Judge Kathleen B. Burke
                                                  )


        Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

Judge Kathleen B. Burke for purposes for receiving, on consent of the parties, the offer of a plea of

guilty by defendant The Kelly Plating Company (“defendant”), conducting the colloquy prescribed by

Fed. R. Crim. P. 11, causing a verbatim record of the proceedings to be prepared, referring the matter,

if appropriate, for presentence investigation, and submitting a Magistrate Judge’s Report and

Recommendation stating whether the plea should be accepted and a finding of guilty entered, the

following, along with the transcript or other record of the proceedings submitted herewith, constitutes

the Magistrate Judge’s Report and Recommendation concerning the plea of guilty proffered by the

defendant.

        1.      On September 3, 2014, the defendant, accompanied by counsel, proffered a plea of

                guilty to Counts 1 and 2 of the Indictment. Defendant appeared through its President

                and sole owner, Donald J. Kelly, who was authorized to speak on behalf of defendant

                and to bind defendant.

        2.      Prior to such proffer, the defendant was examined as to its competency, advised of the

                charge and consequences of conviction, informed that the Federal Sentencing

                Guidelines are advisory and the Court must consider them but the Court may impose

                any sentence authorized by law, notified of its rights, advised that it was waiving all its
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                                                    2

                 rights except the right to counsel, and, with limited exceptions, its right to appeal, and

                 otherwise provided with the information prescribed in Fed. R. Crim. P. 11.

        3.       The parties and counsel informed the court about the plea agreement between the

                 parties, and the undersigned was advised that, aside from such agreement as described

                 or submitted to the court, no other commitments or promises have been made by any

                 party, and no other agreements, written or unwritten, have been made between the

                 parties.

        4.       The undersigned questioned the defendant under oath about the knowing, intelligent,

                 and voluntary nature of the plea of guilty, and finds that the defendant’s plea was

                 offered knowingly, intelligently, and voluntarily.

        5.       The parties provided the undersigned with sufficient information about the charged

                 offense(s) and the defendant’s conduct to establish a factual basis for the plea.

        In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the

United States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned

recommends that the plea of guilty to Counts 1 and 2 of the Indictment be accepted and a finding of

guilty be entered by the Court.

                                                         s/Kathleen B. Burke
                                                   Kathleen B. Burke
                                                   United States Magistrate Judge

Date: September 4, 2014



        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within fourteen (14) days of receipt of this notice. Fed. R. Crim. P. 59. Failure to file objections within

the specified time constitutes a WAIVER of the right to appeal the Magistrate Judge’s recommendation.

Id.
